 

Case 5:11-mj-01552 Document 1 Filed on 09/21/11 in TXSD Page 1 of 1
. US MAGISTRATE COURT

FILED
UNITED STATES DISTRICT COURT sek 212011 OR

SOUTHERN DISTRICT OF TEXA@avid J. Bradley, Clerk

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=2AQ106 Rev. 12/03) Affidavit for Search Warrant

 

In the Matter of the Search of
(Name, address or brief description of person, property or premises to be searched) APPLICATION AND AFFIDAVIT

Sprint/Nextel cellular phone with assigned call number FOR SEARCH WARRANT
(956) 229-7075 with International Mobile

Subscriber Number 316010115008988 Case Number: 5S) | |- U3- [552

I, _JASON HAVEMANN being duly sworn depose and say:
Iam a(n) _Special Agent with the Drug Enforcement Administration and have reason to believe
Official Title
that 1 onthe personofor ™ on the property or premises known as (name, description and/or location)

SPRINT/NEXTEL cellular phone with assigned call number (956) 229-7075 with International Mobile
Subscriber Number 316010115008988

 

in the SOUTHERN District of TEXAS and elsewhere

there is now concealed a certain person or property, namely (describe the person or property to be seized)

PRECISE LOCATION DATA INFORMATION FOR SPRINT/NEXTEL CELLULAR PHONE with assigned call number
(956) 229-7075 with International Mobile 316010115008988

 

 

which is (state one or more bases for search and seizure set forth under Rule 41(b) of the Federal Rules of Criminal Procedure)
evidence of a crime

concerning a violation of Title _21 United States code, Section(s) _841 and 846 among others
The facts to support a finding of probable cause are as follows:

See attached Affidavit

  

Continued on the attached sheet and made a part hereof: M Yes 0 No

 

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Senay of Affian }

Sworn to before me and subscribed in my presence,

o | ow { at Laredo Texas
Date '

City State
Guillermo R. Garcia U.S. District Judge Abby — ele

Name of Judige Title of Judge Signature of Judge

 

 
